Case 4:21-cv-01293-P Document6 Filed 12/16/21 Pagelof4 PagelD 15

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Baggiolini
Plaintiff
v.

Civil Action No. 4:21-cv-01293-P-BP

Altisource Holding LLC et al

Defendant

Summons in a Civil Action

TO: Altisource Holding LLC, Delaware Corporation
% Agent of Service

Corporate Service Corporation

251 Little Falls Drive

Wilmington, Delaware 19808

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are:

Primo Baggiolini (pro se)
325 Adams Drive

Suite 325-501
Weatherford , TX 76086

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

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?

DATE: 12/16/2021

Signature of Clerk or Deputy Clerk
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Civil Action No. 4:21-cv-01293-P-BP

Date:

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, if arty)
was received by me on (date)

fr” I personally served the summons on the individual at (p/ace)

on (date)

[ 1 left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) ,and mailed a copy to the individual's last known address; or

[~ TIserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) , or
fF | returned the summons unexecuted because 5 OF
| other (specif)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Baggiolini
Plaintiff
Vv.

Civil Action No. 4:21-cv-01293-P-BP

Altisource Holding LLC et al

Defendant

Ne ed ee ee ee

Summons in a Civil Action

TO: Western Progressive Trustee LLC, Delaware Corporation
% Agent of Service

Corporate Service Corporation

251 Little Falls Drive

Wilmington, Delaware 19808

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are:

Primo Baggiolini (pro se)
325 Adams Drive

Suite 325-501
Weatherford , TX 76086

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE: 12/16/2021

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Civil Action No. 4:21-cv-0 1293-P-BP

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ, P. 4 (0)

This summons for (Hamme of individual and title, if any)

was received by me on (date}

[I personally served the summons on the individual at (place)

on (date) ; or

[~ J left the summons at the individual's residence or usual place of abode with (ante)
p

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ tserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) Sor
[  TLreturned the summons unexecuted because ; or
f other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
